Case: 1:17-md-02804-DAP Doc #: 2208-24 Filed: 08/13/19 1 of 11. PageID #: 335061




                    PSJ11 CVS Opp Exh 24
Case: 1:17-md-02804-DAP  Doc #: 2208-24
       Case 1:12-cv-00191-RBW   DocumentFiled:
                                          19-4 08/13/19  2 of 11.Page
                                                Filed 02/24/12    PageID
                                                                      1 of#:5 335062




                            Leonhart Declaration

                                   Exhibit C
Case: 1:17-md-02804-DAP  Doc #: 2208-24
       Case 1:12-cv-00191-RBW   DocumentFiled:
                                          19-4 08/13/19  3 of 11.Page
                                                Filed 02/24/12    PageID
                                                                      2 of#:5 335063
Case: 1:17-md-02804-DAP  Doc #: 2208-24
       Case 1:12-cv-00191-RBW   DocumentFiled:
                                          19-4 08/13/19  4 of 11.Page
                                                Filed 02/24/12    PageID
                                                                      3 of#:5 335064
Case: 1:17-md-02804-DAP  Doc #: 2208-24
       Case 1:12-cv-00191-RBW   DocumentFiled:
                                          19-4 08/13/19  5 of 11.Page
                                                Filed 02/24/12    PageID
                                                                      4 of#:5 335065
Case: 1:17-md-02804-DAP  Doc #: 2208-24
       Case 1:12-cv-00191-RBW   DocumentFiled:
                                          19-4 08/13/19  6 of 11.Page
                                                Filed 02/24/12    PageID
                                                                      5 of#:5 335066
Case: 1:17-md-02804-DAP  Doc #: 2208-24
       Case 1:12-cv-00191-RBW   DocumentFiled:
                                          19-5 08/13/19  7 of 11.Page
                                                Filed 02/24/12    PageID
                                                                      1 of#:5 335067




                            Leonhart Declaration

                                   Exhibit D
Case: 1:17-md-02804-DAP  Doc #: 2208-24
       Case 1:12-cv-00191-RBW   DocumentFiled:
                                          19-5 08/13/19  8 of 11.Page
                                                Filed 02/24/12    PageID
                                                                      2 of#:5 335068
Case: 1:17-md-02804-DAP  Doc #: 2208-24
       Case 1:12-cv-00191-RBW   DocumentFiled:
                                          19-5 08/13/19  9 of 11.Page
                                                Filed 02/24/12    PageID
                                                                      3 of#:5 335069
Case: 1:17-md-02804-DAP   Doc #: 2208-24
        Case 1:12-cv-00191-RBW           Filed:
                                  Document  19-508/13/19  10 of 11.Page
                                                  Filed 02/24/12    PageID
                                                                        4 of #:
                                                                             5 335070
Case: 1:17-md-02804-DAP   Doc #: 2208-24
        Case 1:12-cv-00191-RBW           Filed:
                                  Document  19-508/13/19  11 of 11.Page
                                                  Filed 02/24/12    PageID
                                                                        5 of #:
                                                                             5 335071
